     Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 1 of 35 PageID #: 1




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF KENTUCKY
                             LOUISVILLE DIVISION
                    CIVIL ACTION NO.________________________
                                        3:19-cv-825-CRS
                    JUDGE ___________________________________
                            Senior Judge Charles R. Simpson III
                    MAGISTRATE JUDGE _____________________
                              ELECTRONICALLY FILED

HENRY J. KAPLAN, M.D.                                                PLAINTIFF
44 Kingsbury Place
St. Louis, Missouri 63112

v.

UNIVERSITY OF LOUISVILLE                                          DEFENDANTS
Office of University Counsel
University of Louisville
Louisville, Kentucky 40292
SERVE:        Thomas A. Hoy
              Registered Agent
              University of Louisville
              Grawemeyer Hall, Suite 206
              2301 S. Third Street
              Louisville, Kentucky 40292

-AND-

TONI M. GANZEL, M.D.
2513 Poplar Crest Road
Louisville, Kentucky 40207

-AND-

RONALD I. PAUL, M.D.
6502 Mount Batten Court
Prospect, Kentucky 40059

-AND-

GREGORY C. POSTEL, M.D.
1912 Mockingbird Bluff Lane
Louisville, Kentucky 40207


                                    COMPLAINT
  Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 2 of 35 PageID #: 2




                             JURY TRIAL DEMANDED HEREIN


       Plaintiff Henry J. Kaplan, M.D. (“Plaintiff” or “Dr. Kaplan”), by counsel, for his

Complaint against Defendant University of Louisville (“University”), Defendant Toni M.

Ganzel, M.D., Defendant Ronald I. Paul, M.D., and Defendant Gregory C. Postel, M.D. (all

collectively referred to as the “Defendants”), hereby states as follows:

                               PRELIMINARY ALLEGATIONS

       1.      Dr. Kaplan, the long-standing Chair of the University’s Department of

Ophthalmology and Visual Sciences (the “Department”), has been illegally targeted and harmed

by the University after doing nothing more than satisfying his obligations to protect and advance

the needs of the Department.

       2.      In May 2018, the University informed the Department that its faculty clinicians

would have to take a significant salary cut, and that several research faculty and staff would have

to be terminated. These funding cuts resulted from financial malfeasance by University

administration, as well as fiscal incompetence by University of Louisville Physicians (“ULP”),

particularly revenue cycle management.

       3.      In response, Dr. Kaplan and his faculty began brainstorming and exploring

potential options for new revenue sources in order to avoid losing the Department’s existing

outstanding clinicians and researchers, especially those who were not subject to non-compete

agreements, to more financially attractive positions, and at the same time, to protect the

Department’s ability to attract top clinical residents and research fellows into the Department’s

academic programs.

       4.      One source of potential revenue in the medical field for the Department is to sell

its clinical practice to a private equity group, and to use such funds to establish a new


                                                  2
  Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 3 of 35 PageID #: 3




endowment for the Department’s academic activities. In conjunction with appropriate financial

support from University of Louisville Hospital (“ULH”) for the faculty’s 24/7 coverage of the

emergency department at ULH, as well as retention of School of Medicine (“SOM”) base salary

support for clinical and research faculty members, the Department would be able to meet its

mission of outstanding clinical, research and educational performance for the citizens of the

Commonwealth and for its commitment to the Kentucky Lions Eye Foundation (“KLEF”),

whose generous financial support established and continues to support the Kentucky Lions Eye

Center. The Department and Dr. Kaplan were well-aware any such arrangement would require

University approval and participation, which would be sought if it was believed the right private

equity financial opportunity was found.

       5.      At the behest of his Department, knowing that similar ophthalmology clinical

practices at other universities had been purchased by private equity groups after agreement to a

financial arrangement with their respective university, Dr. Kaplan began a process of information

gathering from potential investment groups.

       6.      Somehow the University was informed of the Department’s alternative funding

source research. Offended by Dr. Kaplan’s temerity to explore a better funding arrangement for

his Department, as opposed to simply relying on the University’s reduced funding (and its

presumed continued decline), the various Defendants intentionally and illegally took one or more

actions, individually or together with one or more Defendants, to retaliate against Dr. Kaplan.

       7.      Among other actions, and as described below, Dr. Kaplan was: removed as Chair

of the Department and placed on administrative leave pending an ongoing “investigation” by the

University’s Risk, Audit, and Compliance Office (“Audit Services”); blocked from treating his

patients by being forbidden from being on University clinical property and not allowed to inform



                                                3
  Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 4 of 35 PageID #: 4




them of the reason for his inability to see them; and halted from his research activities by being

prohibited from having any contact with other University collaborators to discuss or participate

in research.

        8.         Defendants’ actions had immediate, negative, adverse impacts on Dr. Kaplan’s

career and livelihood, and have harmed his professional reputation, good name, honor, and

integrity.

        9.         Effectively, Defendants’ actions terminated Dr. Kaplan’s 40-year clinical career

by preventing him from engaging in his ULP clinical practice, or even informing those patients

of his impending absence, and terminated Dr. Kaplan’s ongoing 40-year scientific research

career, by preventing him from serving as Principal Investigator of his federal (i.e. NIH) and

private funded research grants, as well as forbidding him to maintain his on-going collaboration

with departmental research faculty members whose NIH research proposals were in development

and close to submission.

        10.        Accordingly, Dr. Kaplan comes to this Court seeking relief from the Defendants’

illegal actions.

                                            THE PARTIES

        11.        Dr. Kaplan is an individual whose primary residential address is 44 Kingsbury

Place, St. Louis, Missouri 63112. At all times relevant to this Complaint, Dr. Kaplan was a

tenured professor at the University and served as the Chair of the Department for the

University’s SOM.

        12.        The University is a non-profit Kentucky corporation with its principal office listed

with the Kentucky Secretary of State as: Office of University Counsel, University of Louisville,

Louisville, Kentucky 40292. At all times relevant to this Complaint, the University has been a



                                                    4
  Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 5 of 35 PageID #: 5




public institution of higher learning created under Kentucky law with the power to sue and be

sued.

         13.   Upon information and belief, and at all times relevant to this Complaint,

Defendant Toni M. Ganzel, M.D. was Dean of the University’s SOM. Upon information and

belief, Dr. Ganzel’s current residential address is 2513 Poplar Crest Road, Louisville, Kentucky

40207.

         14.   Upon information and belief, and at all times relevant to this Complaint, Ronald I.

Paul, M.D. was the University’s Vice Dean of Faculty Affairs. Upon information and belief,

Dr. Paul’s current residential address is 6502 Mount Batten Court, Prospect, Kentucky 40059.

         15.   Upon information and belief, and at all times relevant to this Complaint,

Gregory C. Postel, M.D. was the University’s interim Executive Vice President. Upon

information and belief, Dr. Postel’s current residential address is 1912 Mockingbird Bluff Lane,

Louisville, Kentucky 40207.

         16.   The foregoing individual Defendants are/were employed by the University, and

their actions described below were done under color of State law.

         17.   The foregoing individual Defendants are named as Defendants in their individual

and personal capacity.


                                JURISDICTION AND VENUE

         18.   This Court has subject matter jurisdiction over Plaintiff’s claims pursuant to

28 U.S.C. § 1331 and 28 U.S.C. § 1343 for the claims brought under the laws of the United

States. This Court has supplemental jurisdiction pursuant to 27 U.S.C. § 1367(a) over all other




                                                5
  Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 6 of 35 PageID #: 6




claims as they are “so related to claims in the action within such original jurisdiction that they

form part of the same case or controversy under Article III of the United States Constitution.”

       19.     Venue in this Court is proper under 28 U.S.C. § 1391 because a substantial part of

the events or omissions giving rise to the claims occurred in or around Jefferson County,

Kentucky, which is located within the United States District Court for the Western District of

Kentucky.


                                   STATEMENT OF FACTS

       A.      An Overview Of Dr. Kaplan’s Career.

       20.     Dr. Kaplan has had an illustrious career that has brought him both international

and national recognition in his specialty of ophthalmology.

       21.     Dr. Kaplan graduated in 1968 with his medical degree from the Weill Medical

College of Cornell University.

       22.     He completed his medical internship in 1969 at the Case Western University’s

Lakeside Hospital in Cleveland, Ohio.

       23.     He completed the first year of a surgical residency in 1970 at the New York

University Medical Center before entering the U.S. Air Force as a Captain in the Medical Corps.

       24.     He completed his residency in ophthalmology from 1975-1978 at the University

of Iowa Hospitals and Clinics.

       25.     During the early years of his career, Dr. Kaplan completed two fellowships. He

completed his research fellowship in ocular immunology from 1972-1974 at the University of

Texas-Southwestern Medical Center in Dallas after which he was appointed an Assistant

Professor in the Department of Cell Biology from 1974-1975. He completed a fellowship in




                                                  6
  Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 7 of 35 PageID #: 7




ophthalmology (retina-vitreous) from 1978-1979 at the Medical College of Wisconsin in

Milwaukee.

       26.     Dr. Kaplan was board certified in ophthalmology in 1979.

       27.     Upon completion of his retina-vitreous fellowship, Dr. Kaplan was appointed an

Associate Professor of Ophthalmology at Emory University, Atlanta, Georgia in 1979. He was

promoted to Professor and Director of Research from 1984-1988. From 1988 to 2000,

Dr. Kaplan was a Professor in the Department of Ophthalmology & Visual Sciences at

Washington University, St. Louis, Missouri, and was Chair of that department from 1988-1998.

       28.     On or about October 1, 2000, Dr. Kaplan arrived at the University to serve as a

tenured Professor in and Chair of the Department. He served continuously as the Department’s

Chair following that original appointment.

       29.     During his 18 years of service to the University, Dr. Kaplan served as CEO and

President of Eye Specialists of Louisville (“Eye Specialists”) (2000-2014). Eye Specialists is a

private practice corporation of the Department’s faculty that includes each of the subspecialties

in the field of ophthalmology. Eye Specialists has office locations in Louisville, western

Kentucky and southern Indiana.

       30.     Dr. Kaplan served in various administrative positions for ULP since its founding

in 2011. ULP is the multi-specialty University SOM faculty clinical practice.

       B.      Dr. Kaplan’s Long-Term Successful Service As Chair Of The Department.

       31.     As Chair, Dr. Kaplan was obligated to fulfill a number of general and specific

duties, all of which were designed to advance the business and professional standing of the

Department, which in turn advanced the business and professional standing of the SOM and the

University. Dr. Kaplan’s general Chair duties included, but were not limited to, the following:



                                                 7
  Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 8 of 35 PageID #: 8




Exhibit 1, March 12, 2018 letter.

       32.     By any objective measure, Dr. Kaplan’s stewardship of the Department during his

18 years as Chair was a resounding success, as evidenced by his most recent five-year Chair

review completed by the University. Pursuant to the University Redbook § 3.3.5(D), a

department chair is reviewed every five years by the academic unit in which the department

resides.

       33.     In 2018, Dr. Kaplan received the results of his five-year Chair review for the

period of 2012-2016. The review committee’s report (the “Report”) was presented to Dean

Toni M. Ganzel (“Dean Ganzel”) of the University’s Medical School on or about January 30,

2018. Exhibit 2, Report

       34.     In short, and as described in detail by the Report, the Chair review was

overwhelmingly positive, and the review committee unanimously recommended that Dr. Kaplan

continue as Chair. Exhibit 2, Report.

       35.     On March 7, 2018, Dean Ganzel congratulated Dr. Kaplan on his

“accomplishments and the advancement of the department and its missions under [his] leadership

during the past five years.” Exhibit 3, March 7, 2018 letter. Dean Ganzel informed Dr. Kaplan




                                                8
  Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 9 of 35 PageID #: 9




that she endorsed the review committee’s Chair reappointment recommendation. Id.

Accordingly, Dr. Kaplan was reappointed the Department’s Chair for another five-year term to

retroactively run from 2017-2022. Id. Dr. Kaplan’s next scheduled five-year Chair review

would not be until calendar year 2022. Id.

       C.      In 2018, Dr. Kaplan Addresses The Impact Of The University’s Department
               Funding Cuts And Issues With Clinical Office Space For The Department.

               1.      The Department Seeks Options For University Funding Shortfalls.

       36.     In May 2018, the University announced that it was instituting “cost controls”

through all of its departments due to budget shortfalls. Specific to the Department, the

University informed it that all of its faculty clinicians were going to have their salaries cut by

fifteen percent (15%) for fiscal year 2019.

       37.     As might be expected, Dr. Kaplan received numerous complaints from his faculty.

As Chair, Dr. Kaplan was very concerned that these funding cuts would result in a significant

loss of existing clinicians, especially those with no non-compete agreement with the University

who would leave the Department for better paying positions, and loss of future quality clinician

candidates, who would choose to work for other better paying universities. Such an exodus

and/or such hiring difficulties would have a major impact on the Department’s clinical practice,

research, and revenues. The impact on the Department’s revenues was particularly problematic

as historically the Department was one of the few profitable University departments, which

allowed it to provide net revenue to the University prior to the increased allocation of ULP

overhead in fiscal year 2014 and subsequent fiscal years.

       38.     In considering potential sources of additional revenue for the Department (and

consequently the University), Dr. Kaplan began to brainstorm and research alternative financial




                                                  9
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 10 of 35 PageID #: 10




arrangements with several of the Department’s clinicians in order to benefit both the Department

and the University.

       39.     One potential source of revenue known to be available in the medical field of

ophthalmology is the purchase of the Department’s clinical practice by a private equity group.

Under such a scenario, the practice group is purchased by the outside investor and rolled into a

larger, regional practice. Using the efficiencies from that combination, the investment group

continues to fund the Department at the pre-acquisition level, allowing the University to keep its

pre-acquisition funding amount of the Department for other uses.

       40.     Additionally, such an alternative financing arrangement would allow the

University to allocate the salary compensation it previously paid its clinicians (which would now

be paid by the investor going forward) for use by the Department to support the research mission

of the University’s SOM, including the Department’s Kentucky Lions Eye Center.

       41.     Dr. Kaplan and his clinicians were well-aware that no such financing agreement

could be entered into without the University’s inclusion and approval because all of the

clinicians that joined the Department in 2014 and beyond had a non-compete agreement in their

University contracts.

       42.     Additionally, Dr. Kaplan and the Department’s clinical faculty wanted to maintain

a contractual relationship with the University in order to maintain the Department’s residency

program in Ophthalmology, fellowship programs in Retina, Uveitis and Oculoplastics, and 24/7

coverage of the Emergency Department at ULH.

       43.     As Chair of the Department, Dr. Kaplan had detailed communications with four

investment groups for information gathering purposes only, including one group which had

recently acquired a similar ophthalmology group affiliated with the University of Cincinnati, and



                                                10
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 11 of 35 PageID #: 11




another group that had recently acquired two Ophthalmology specialty practices in Louisville

and western Kentucky.

        44.     At no time did Dr. Kaplan or the Department enter into any written or verbal

agreement with any investment group, nor did Dr. Kaplan’s communications with investment

groups result in a letter of intent.

                2.      At the Same Time, The Department Needed New Space In Which To
                        Expand Its Clinical Practices.

        45.     In fiscal years 2017 and 2018, the Department maintained multiple medical

offices operated under the name of University of Louisville Physicians-Eye Specialists to

conduct its clinical services for its patients. The Department’s busiest private office was located

in the Springs Medical Center (“SMC”) located at 6400 Dutchmans Parkway in Louisville.

        46.     In the latter part of 2017 and first half of 2018, while Dr. Kaplan was also serving

as the Chair of the ULP’s Finance Committee, he and his Department faculty recognized that the

Department’s SMC office needed more clinical space in the building as a result of: (i) the

increased patient volume of the office; (ii) the request by several clinical faculty for more office

time at SMC; and (iii) the Department’s financial need to relocate its pediatric care office from

its then Brownsboro Road location.

        47.     Dr. Kaplan inquired through interim CEO of ULP, Dr. Gerard Rabelais, whether

there was any office space at SMC leased by ULP that was available immediately or anticipated

to be available in the near future for use by the Department. Dr. Kaplan was told that no such

space could be identified.

        48.     Coincidentally, the Department became aware of an office vacancy at SMC that it

believed would accommodate all of its existing space needs.




                                                 11
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 12 of 35 PageID #: 12




       49.     As Chair, Dr. Kaplan began working to secure a lease at SMC for the new space.

From March to May 2018, Dr. Kaplan notified appropriate University administrators of the

Department’s need to secure a new SMC lease.

       50.     In May 2018, the Department was notified by the SMC landlord that the targeted

SMC space was going to be released to another tenant due to the fact that the Department had yet

to agree to a new lease after 8 weeks of negotiation. At the same time, the Department was

informed that the Brownsboro Road location was being closed at the start of the summer.

       51.     On May 21, 2018, Dr. Kaplan decided that it was in the best interest of the

Department to enter the new SMC lease before losing out on the needed space and effectively

abdicating its pediatric ophthalmology practice in East Louisville. Accordingly, Dr. Kaplan, in

his capacity as Chair, signed a new SMC lease.

       52.     On May 31, 2018, Dr. Kaplan met with the University’s Interim Executive Vice-

President Greg Postel (“Dr. Postel”) to update him on the Department’s lease negotiations and

execution. After Dr. Kaplan explained to him the reasons necessary for the Department to have

entered the new lease, Dr. Postel confirmed that as Chair, Dr. Kaplan had the authority to

determine the geographic location of the clinical office space to be used to provide services to its

patients. Mr. Dan Durbin, CFO of the SOM at that time, was invited to sit on that meeting by

Dr. Postel and was present at the time this statement was made by Dr. Postel.

       53.     Moreover, a Chair’s authority to determine the clinical office space to be used by

his/her Department’s physicians to provide patient services had been in existence since the

founding of the ULP group in 2011, of which Dr. Kaplan was a founding member.




                                                 12
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 13 of 35 PageID #: 13




       D.      The University Begins Taking Adverse Actions Against Dr. Kaplan.

       54.     On October 16, 2018, Dr. Kaplan was ordered to meet with Dean Ganzel and

Dr. Postel. At the outset of the meeting, Dr. Kaplan was informed by Dean Ganzel that a Special

Chair Review Committee would be formed to review several allegations relating to his role as

Chair of the Department and the University’s concerns over the allegations: “we discussed your

unauthorized execution of a lease on behalf of ULP, failure to honor your initial obligation of the

Department to occupy space and use equipment in the PMOB resulting in expense to re-stock

equipment, alleged attempt to seek a loan to fund operations outside of ULP’s regular financing

that could compromise ULP’s debt covenant agreement and the creation of an LLC, that if

intended to spin-off the clinical practice of the Department into an outside entity, would violate

the Practice Plan.” Exhibit 4, October 25, 2018 letter.

       55.     Dean Ganzel fully acknowledged during the meeting that Dr. Kaplan had

previously provided sufficient explanations for entering the lease at SMC; that he received

permission directly from her to relinquish the space in the Brownsboro Road location; that he

denied all allegations of seeking a “loan” to finance departmental activities that would violate

any ULP or University contract or policy; and that he formed Louisville Eye Specialists, LLC on

August 15, 2018, as a private company in which he was the only founder/employee in order to

personally finance an international eye hospital in Suzhou, China in a Joint Venture Agreement

with two Chinese colleagues. Dr. Kaplan denied any commitment to an investment group to

“spin off” the Department’s clinical practice from the University. Id.

       56.     Nevertheless, despite Dr. Kaplan’s long history of impeccable service to the

University, as evidenced by, among other things, the Report, Dean Ganzel informed Dr. Kaplan

that she would be commencing a special chair review under Redbook § 3.3.5(D) to investigate



                                                13
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 14 of 35 PageID #: 14




the issues. Id. According to Dean Ganzel, once the special review was commenced, Dr. Kaplan

was to be placed on administrative leave, with pay, from his Chair position. Id. Dr. Ganzel

indicated that the special chair review would not impact or relate to, in any way, Dr. Kaplan’s

ongoing work as a physician/clinician, a researcher, or an educator. Id.

       57.        The special review committee was scheduled to meet with Dr. Kaplan on

November 14, 2018, at 2:00 p.m. The morning of the scheduled meeting Dr. Kaplan was

informed by Dean Ganzel’s office that the meeting was canceled, with no explanation as to why

or when it would be rescheduled.

       58.        Also on that day, Dr. Kaplan was told to meet with Dean Ganzel and Ron Paul,

Vice-Dean for Faculty Affairs (“Dr. Paul”) at 7:30 a.m. on November 15, 2018.

       59.        During the November 15 meeting, Dr. Kaplan was informed for the first time of

the following by Dean Ganzel and Dr. Paul: (i) the special review had been terminated by Dean

Ganzel and the University before its completion; (ii) the same allegations that were to be

investigated by the special review committee were now being investigated by the University’s

Audit Services; (iii) Dr. Kaplan was being placed on immediate administrative leave with pay;

and (iv) the results of the Audit Services investigation could result in disciplinary actions up to

and including termination from the University despite his tenure status. Exhibit 5, November 15,

2018 letter.

       60.        Moreover, Dr. Kaplan was informed that the University forbade him from

engaging in what it considered to be any University-related activity, whether that activity would

be in his role as Chair, clinician, researcher, or faculty member. Id. This prohibition was

indefinite. Id.




                                                 14
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 15 of 35 PageID #: 15




       61.     Furthermore, Dr. Kaplan was informed that he could have no contact with any

University personnel for any reason, nor could he step foot on University property, which would

include the Department’s clinical offices. Exhibit 6, November 16, 2018 email.

       62.     Upon information and belief, Dr. Kaplan’s faculty received written

communication from the Dean's office stating that communication with Dr. Kaplan during his

“leave” could be grounds for dismissal from the University.

       63.     Also on November 15, the University’s Vice-President for Audit Services,

Rhonda L. Bishop, entered Dr. Kaplan’s office, without notice and without his presence, and

confiscated his desktop computer. Dr. Kaplan was also informed that he would have to turn in

his University laptop immediately.

        E.     Negative Ramifications Of The University’s Actions Against Dr. Kaplan
               Began Immediately Upon His Forced Administrative Leave.

       64.     The adverse impacts from the University’s actions described above on

Dr. Kaplan’s ongoing professional obligations were immediate.

               1.     Adverse Impact On Dr. Kaplan’s Patient Care.

       65.     As a practicing clinician, Dr. Kaplan was regularly scheduled to see patients on

Tuesday and Thursday afternoons from 1:00 p.m. to 5:00 p.m. During this time, Dr. Kaplan

normally saw 15 to 20 patients, including established and new patients.

       66.     Dr. Kaplan’s patients’ appointments were usually made several months in

advance. Dr. Kaplan’s patients choose to see him specifically due in large part to his nationally

recognized preeminence in the field of Ophthalmology, including in the specialties of Uveitis

and Retina.




                                                15
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 16 of 35 PageID #: 16




        67.        The University’s absolute prohibition against Dr. Kaplan being on the

University’s clinical premises, including SMC, eliminated Dr. Kaplan’s ability to treat any of his

patients. Because Dr. Kaplan was prohibited from communicating with other Department

clinicians, he was not able to make arrangements to obtain coverage for his patient appointments.

Moreover, Dr. Kaplan could not determine if anyone even saw his patients at their scheduled

appointments or whether those appointments were canceled by the University.

        68.        Dr. Kaplan’s prohibition from treating his patients was an especially acute

problem for those patients requiring immune suppression for treatment of intraocular

inflammation (i.e. Uveitis). Dr. Kaplan is a nationally recognized expert in this treatment, and if

the treatment was interrupted or done improperly, his patients could suffer significant and severe

adverse, permanent health effects including death since immune suppression inhibits the body’s

ability to combat infection.

        69.        Dr. Kaplan’s prohibition from treating his patients negatively impacted his

professional standing and reputation. In January 2019, Dr. Kaplan received notification that he

was going to be delisted from BestDoctors.com, a national listing of medical experts in their

field for use by persons seeking medical information in making medical care decisions. Listing

is only available for a doctor who is clinically active. While Dr. Kaplan was prohibited from

seeing patients, he was not considered clinically active, and was therefore ineligible for the

subject listing.

                   2.     Adverse Impact On Dr. Kaplan’s Ongoing Research.

        70.        Due to the University’s prohibitions described above, Dr. Kaplan’s ongoing

research activities were effectively halted.




                                                   16
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 17 of 35 PageID #: 17




          71.   Prior to the enforced administrative leave and prohibitions from communications

with University collaborators, Dr. Kaplan had been working on multiple research presentation

proposals for submission by November 30, 2018. That was the deadline for proposal

submissions to the 2019 meeting of the Association for Research in Vision and Ophthalmology

(“ARVO”), which is the world’s largest and most respected eye and vision research organization.

ARVO’s annual conference was scheduled to begin April 28, 2019. Dr. Kaplan was a regular

presentation participant annually at the AVRO conference. The University’s actions interfered

with his continued work on those submissions.

          72.   Prior to the enforced administrative leave and prohibitions from communications

with University collaborators, Dr. Kaplan was working on two important research funding grant

proposals - one was due on December 4, 2018; the other on March 5, 2019 - both of which

required his active, ongoing contributions to complete. Such grants take months to write and

revise and Dr. Kaplan’s administrative leave impacted both proposals as his work on them was

halted.

          73.   Prior to the enforced administrative leave and prohibitions from communications

with University collaborators, at least on a weekly basis if not more frequent, Dr. Kaplan had to

collaborate with many different colleagues domestically (including research collaborators at the

University) concerning the design and continued conduct of his multiple, ongoing research

projects. The University’s confiscation of his computers, as well as administrative leave and

restrictions eliminated Dr. Kaplan’s ability to continue with his collaborative research efforts.

          74.   Additionally, Dr. Kaplan’s then-current, awarded grant projects were interfered

with by Defendants.




                                                 17
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 18 of 35 PageID #: 18




       75.     Since the late 1990s, Dr. Kaplan has been a collaborator on a project involving the

development and implantation of a bionic eye. In May 2018, Dr. Kaplan was awarded a grant

from Bionic Eye Technology (“BET”), as the Principal Investigator, providing funds for the

development of pre-clinical data for FDA submission of a clinical trial. Exhibit 7, June 1, 2018

email and attachments.

       76.     On December 8, Dr. Kaplan was informed by his long-standing colleague and

collaborator at another university on the bionic eye project of the following: (i) earlier in the

week, Dr. Kaplan’s colleague received an email appointment for a telephone conference call on

Friday, December 7; (ii) the colleague initially thought the message was from Dr. Kaplan, but

when he joined the call he learned that it was scheduled by the acting Department Chair

Dr. Jöern Soltau (“Dr. Soltau”) and Dr. Maureen McCall (“Dr. McCall”), a professor in the

Department, neither of whom had any previous involvement in the bionic eye project or the

grant; and (iii) Dr. McCall stated that the purpose of the call was to inform Dr. Kaplan’s

colleague that she had the authority to remove Dr. Kaplan as the Principal Investigator on the

grant if he so desired.

       77.     The actions taken by Dr. Soltau and Dr. McCall while Dr. Kaplan was on

administrative leave and prohibited from communicating with University colleagues, certainly at

the Defendants’ direction and with their blessing, were taken without Dr. Kaplan’s knowledge or

consent.

       78.     Moreover, on information and belief, the University, through its agents,

employees, and representatives, have informed faculty with whom Dr. Kaplan collaborated not

to include his name on any manuscripts or grants that were to be submitted. This instruction had




                                                 18
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 19 of 35 PageID #: 19




been given, and was to be followed, regardless of whether Dr. Kaplan was a Principal

Investigator on a subject grant and regardless of Dr. Kaplan’s contributions to the work.

       79.     Furthermore, in relation to Dr. Kaplan’s then-existing grant work, there were

several federal research documents that required annual renewal, and his collaborators had been

informed by the University, through its agents, employees, and representatives, to renew the

documents without Dr. Kaplan’s name being attached to them even though he was required to

complete them as the grants’ Principal Investigator. Specifically, Dr. Kaplan was Principal

Investigator on a major grant from the National Institute of Health (“NIH”) on retinal

transplantation, work that he had been pursuing with continuous NIH funding since 1972. The

University’s actions abrogated his ability to participate in this grant, and subsequently the

University had NIH remove him from the grant.

       80.     Additionally, Dr. Kaplan’s then-current publishing contract was interfered with

by Defendants.

       81.     Dr. Kaplan and one of his Department colleagues were under contract to write a

book relating to their ophthalmology specialty, Uveitis. On December 18, 2018, Dr. Kaplan’s

colleague was told by the University’s Audit Services that he was not allowed to communicate

with Dr. Kaplan for any reason until after the University’s “investigation” of Dr. Kaplan was

complete.

       82.     The University’s interference adversely impacted the ability of Dr. Kaplan and his

colleague to meet contract deadlines, such as submitting a finalized chapter author list for the

book, given their inability to collaborate on their work for the book. Dr. Kaplan and his

colleague missed the publisher’s extended deadline (January 15) for submitting their list of

chapter authors as a result of the continued prohibition of communications with Dr. Kaplan.



                                                 19
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 20 of 35 PageID #: 20




               3.      Adverse Impact On Dr. Kaplan’s Chair Obligations And Reputation.

         83.   On November 17, 2018, Dr. Kaplan had been scheduled to participate in the

Department’s medical resident applicant interviews. Dr. Kaplan was required to participate in

those interviews as Chair as part of his ongoing duty to, among other things, “ensure recruitment

and retention of adequate faculty and staff to meet the clinical, educational, and research needs

of the department.” Exhibit 1, March 12, 2018 letter.

         84.   During the November 15 meeting described above, Dr. Kaplan specifically

requested that his administrative leave be deferred to begin on November 18, the day after the

last scheduled resident interviews, so that he would be present for the November 17 interviews

just as he had been present for the previous two interview days – Saturday, November 10 and

Sunday, November 11. Dr. Kaplan’s concern was that his absence would reflect negatively on

the resident candidates’ assessment of the Department and Dr. Kaplan’s leadership of it.

         85.   The University denied Dr. Kaplan’s request despite the obvious potential adverse

impact it would have on the Department’s resident recruitment and Dr. Kaplan personally.

         86.   The University compounded the negative impact, especially as to Dr. Kaplan’s

leadership and reputation, when one or more of its agents, employees, and representatives, upon

information and belief, informed resident candidates that Dr. Kaplan was on administrative

leave.

         87.   The University compounded the negative impact on Dr. Kaplan’s professional

standing, character, reputation, and integrity by directly informing the American University

Professors of Ophthalmology (“AUPO”) that Dr. Kaplan was no longer Department Chair before

the completion of the Audit Services investigation and his actual removal as the Chair. As a




                                                20
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 21 of 35 PageID #: 21




result of that University communication, Dr. Kaplan was no longer eligible for membership in

that organization. Exhibit 8, December 5, 2018 email.

         88.      The University, through its agents, employees, and representatives, further

compounded the negative impact on Dr. Kaplan’s professional standing, character, reputation,

and integrity by contacting the National Eye Institute1 to inform it that he was “under

investigation,” without any clarification that the investigation had nothing to do with scientific

research.

         89.        The University, through its agents, employees, and representatives, further

compounded the negative impact on Dr. Kaplan’s professional standing, character, reputation,

and integrity by representing to groups outside the University and Department, such as the

Louisville Lions Club, that he had been replaced as Department Chair by Dr. Soltau.

                  4.       Conclusion.

         90.      The Defendants’ above-described actions against Dr. Kaplan improperly

compromised Dr. Kaplan’s ability to carry out his duties as Chair, as a clinician, as a researcher,

and as a member of the Department faculty. See, e.g., Exhibit 1, March 12, 2018 letter.

         91.      The Defendants’ above-described actions against Dr. Kaplan were illegal and

arbitrary in violation of University policies including, but not limited to, the Redbook.2

         92.      The Defendants’ above-described actions against Dr. Kaplan violated applicable

federal and state law.




         1
          The National Eye Institute is one of the institutes and centers that comprise the U.S. National Institutes of
Health, an agency of the federal Department of Health and Human Services.
         2
          The current version of the University Redbook, incorporated herein by reference, is publicly available at
the following web address: http://louisville.edu/provost/redbook.


                                                          21
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 22 of 35 PageID #: 22




       93.      As a result of the Defendants’ above-described actions against Dr. Kaplan, he

suffered harm, and continues to suffer harm, to protected rights and status, and to his reputation,

good name, honor, integrity, and professional standing.

        F.      After Completion Of The Audit Services Report, Dr. Kaplan Was Removed
                As Chair And The University Is Terminating Him.

       94.      On January 23, 2019, while the Audit Services “investigation” was still in

progress, Dr. Kaplan received a letter from Dean Ganzel in which she provided a handful of

discrete exemptions to the absolute prohibitions against him having any communications with his

University colleagues only in order to "secur[ing] due acknowledgement" on current research

projects. Exhibit 9, January 23, 2019 letter. However, Dean Ganzel clearly reiterated that if

Dr. Kaplan's communications with his colleagues exceeded the discrete, allowable parameters

(“you are directed to restrict these communications to these purposes only and to not engage in

any other work-related discussions.”), he would face disciplinary action “up to and including

termination.”

       95.      On February 12, 2019, Audit Services informed Dr. Kaplan that it had “completed

the review of report events for which [Dr. Kaplan was] involved in the Department.” Exhibit 10,

February 12, 2019 email. Dr. Kaplan was also informed that Audit Services had scheduled an

interview with him on Thursday, February 28. Id. Dr. Kaplan attended the scheduled Audit

Services interview.

       96.      On April 19, 2019, Audit Services issued its investigation report. Exhibit 11,

Audit Services Report. The scope of the investigation and its details are described in the

attached Report.




                                                22
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 23 of 35 PageID #: 23




       97.     The Audit Services investigation was simply the University’s attempt to paper a

“justification” for terminating Dr. Kaplan, a long-term, faithful servant to the University. In

response to the only reason that Dr. Kaplan was informed on November 15, 2018, for the

“investigation” (his exploration of alternative funding for the Department’s clinical program),

Dr. Kaplan denied any wrongdoing at the November 15, 2018 Dean Ganzel meeting and at the

February 28, 2019 Audit Services meeting.

       98.     More specifically, Dr. Kaplan’s contact with venture capital firms to research

alternative funding options did not violate the University practice plan, did not commit the

Department to separate from the University (i.e. it executed no agreement with a venture capital

firm), and did not provide any HIPAA protected information to any venture capital firm.

       99.     Knowing that investigation of Dr. Kaplan’s exploration of alternative funding for

the Department’s clinical program would not alone provide a valid basis to terminate him from

the University, the Audit Services Report included other alleged misconduct by Dr. Kaplan.

       100.    The Audit Services Report accused Dr. Kaplan of HIPAA violations. Id.

       101.    On May 8, 2019, Dr. Kaplan was contacted by the University’s outside HIPAA

counsel as part of the Audit Services’ review of alleged HIPAA violations by Dr. Kaplan that

were referenced in the Audit Services report. Dr. Kaplan was told that the investigation was

necessary for the University’s determination if it had to self-report itself and Dr. Kaplan for

HIPAA violations. HIPAA counsel provided a questionnaire for Dr. Kaplan to complete

regarding his alleged improper electronic storage and use of Department patient health

information. Dr. Kaplan’s responses were provided to HIPAA counsel on May 21, 2019.

Exhibit 12, HIPPA Questionnaire Responses. Afterwards, no further communication was

received from HIPAA counsel regarding its investigation, and no notice was provided that the



                                                 23
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 24 of 35 PageID #: 24




University self-reported a HIPAA violation. Accordingly, it is clear that Dr. Kaplan did not

violate HIPAA.

       102.    The Audit Services Report also accused Dr. Kaplan of violating the University's

conflict of interest disclosure policy. Id. Specifically, the Report alleged that Dr. Kaplan did not

disclose his ownership interest in four LLCs that would result in a financial conflict of interest

with the University. However, none of the entities identified in the Report were established to

compete with the University, none of them were established for purposes of securing splitting the

Department from the University if alternative financing was secured, and/or none had provided

Dr. Kaplan financial compensation. Dr. Kaplan had no actionable conflict of interest.

       103.    The Audit Services Report also accused Dr. Kaplan of improperly treating

Department faculty and staff. Id. This issue was previously investigated as part of Dr. Kaplan’s

five-year Chair review completed in Spring 2018, and it was determined that "Dr. Kaplan's

leadership and management of the department are praised uniformly and the departmental staff

or leadership issues did not come up." Exhibit 2, Report, Section 5(D)(b)(b). In fact,

Dr. Kaplan’s five-year Chair review, completed in January 2018 without the goal of terminating

Dr. Kaplan from the University, stated that his communication and leadership was “universally

praised” as follows (Id., Section 5(D)(a)):




                                                 24
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 25 of 35 PageID #: 25




       104.    Related to this issue, toward the conclusion of Dr. Kaplan's interview with the

five-year Chair review committee, which took place near the conclusion of its 2018 review of

him, Dr. Kaplan was asked by one of the committee members what he had done that made his

faculty happy and supportive as compared to other SOM faculty. Furthermore, when Dean

Ganzel met with his faculty to report the results of Dr. Kaplan's five-year Chair review, she

commented that it was one of the most outstanding recommendations of a Chair during her

tenure. Dr. Kaplan had no issues with improperly treating faculty and staff.

       105.    Finally, the Audit Services report also accused Dr. Kaplan of insubordination in

relation to his financial management of the Department. Exhibit 11, Audit Services Report. To

the contrary, the now-challenged decisions Dr. Kaplan made regarding Department finances and

leases were all done with only the good of the Department in mind, and with the knowledge of

the Department.

       106.    The Audit Services Report recommended that the following actions be taken

against Dr. Kaplan: “we recommend administration take appropriate disciplinary action, up to

and including termination of Dr. Kaplan's position as Chair of the [Department] and revocation

of tenure at the University of Louisville.” Exhibit 11, Audit Services Report, p. 1.

       107.    Interestingly, after Audit Services’ recommendation against Dr. Kaplan, the

University announced that it had reached an alternative financing arrangement with Norton

Healthcare to “transition management of [ULP] pediatrics’ clinical activities to Norton. The

transaction will provide much-needed funding to support the academic and research mission in

the School of Medicine. ... pediatric service line faculty and staff will transition to Norton ...”

Exhibit 13, June 20, 2019 email. This type of arrangement is exactly what Dr. Kaplan had been




                                                  25
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 26 of 35 PageID #: 26




exploring for his Department, but for which he was suspended, investigated, and is now being

terminated.

       108.    On August 1, 2019, Dr. Kaplan was informed that Dean Ganzel was seeking to

terminate him from the University based upon the “conduct” investigated by Audit Services.

Exhibit 14, August 1, 2019 letter (“This letter serves as the notice of my written recommendation

of dismissal of your appointment as Professor (Tenured) in the School of Medicine, Department

of Ophthalmology and Visual Sciences . . . I am providing notice of my recommendation of

dismissal, with a separate letter simultaneously sent to the President”).

       109.    Also on August 1, 2019, to add further insult to injury and clearly in coordination

with Dean Ganzel’s August 1 letter, Dr. Paul emailed Dr. Kaplan to inform him that the

previously terminated special chair review committee was being resurrected based upon the

Audit Services Report. Exhibit 15, August 1, 2019 email.

       110.    Dr. Kaplan responded by stating, among other things, the following: (i) that the

October 2018 special chair review had been “ceased” by Dean Ganzel; (ii) Dr. Kaplan had been

provided no notice prior to Dr. Paul’s email that another special chair review had begun; and (iii)

Dean Ganzel’s attempt to remove Dr. Kaplan from the University is consistent with Dr. Kaplan’s

understanding that the October 2018 special chair review had been terminated. Exhibit 16,

August 19, 2019 letter.

       111.    In response on August 23, 2019, Dr. Paul ignored the fact that Dean Ganzel had

terminated the October 2018 special chair review. Instead, he claimed that the special chair

review “is a continuation of the Special Chair Review commenced in October 2018.”

Exhibit 17, August 23, 2019 letter.




                                                 26
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 27 of 35 PageID #: 27




       112.   On August 30, 2019, Dr. Kaplan responded to the “continued” chair review.

Exhibit 18, August 30, 2019 letter. He emphatically denied the allegations in the Audit Services

Report. Id. Moreover, Dr. Kaplan recognized the sham that was the “new” review of his

Chairmanship of the Department following the Audit Services Report (Id., p. 1) (Bold added):

              Respectfully, the Dean’s November 15 letter does not support that
              position. The Dean was clear – the Review “has ceased and any
              investigation into the allegation brought to the attention of University
              officials will continue to be investigated by Compliance and Audit
              Services.” (Emphasis added). In other words, the Review was not
              postponed; it was over. There is no mention of the Review anywhere
              else in the Dean’s letter, much less an explanation that the Review
              could be “continued” to consider the outcome of the result of Audit
              Services’ investigation.

              That issue aside, if the Review is back from hiatus to go forward against
              Dr. Kaplan, it is unimaginable that it will not simply fall in line with
              the Dean’s August 1 letter. The Dean presented a statement of charges
              against Dr. Kaplan, based on the purported results of the April 19 Audit
              Services report (the “Report”), with a written recommendation of his
              termination from the University. We do not believe there is a scenario
              in which the “independent” Review produces a result inconsistent
              with the Dean’s termination recommendation, i.e. the Dean wants to
              terminate Dr. Kaplan, but the Review recommends that Dr. Kaplan
              remains Chair of the Department of Ophthalmology and Visual
              Sciences (the “Department”). We have had too much experience with
              the inner workings of the University and the School of Medicine to
              believe otherwise.

       113.   On September 9, 2019, as fully expected, Dr. Paul sent a letter to Dean Ganzel

stating that the special chair review recommended Dr. Kaplan be removed as Department Chair.

Exhibit 19, September 9, 2019 letter. Dr. Paul’s letter also recommended Dr. Kaplan’s removal

from his endowed position with the University. Id. Such a recommendation intentionally

conflated Dr. Kaplan’s Chair position with his endowed position. The “new” arbitrary special

chair review and its arbitrary recommendations violated the University’s Redbook, § 3.3.5(D)(3).




                                               27
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 28 of 35 PageID #: 28




       114.     On September 13, 2019, the University rubber-stamped the sham special chair

review and its recommendations. Exhibit 20, September 13, 2019 letter.

       115.     As a result of the Defendants’ above-described actions against Dr. Kaplan, he

suffered harm, and continues to suffer harm, to protected rights and status, and to his reputation,

good name, honor, integrity, and professional standing.


                                         COUNT I
            VIOLATION OF PLAINTIFF’S FEDERAL PROCEDURAL AND
                        SUBSTANTIVE DUE PROCESS RIGHTS
   (42 U.S.C. § 1983; 42 U.S.C. § 1988; Fourteenth Amendment to the U.S. Constitution)

       116.     Dr. Kaplan has a constitutionally protected property interest in his Chair position.

       117.     Dr. Kaplan has a constitutionally protected property interest in his positions as a

clinician, researcher, and/or tenured faculty member.

       118.     Dr. Kaplan has a constitutionally protected liberty interest in pursuing his chosen

medical profession (including treating patients and conducting medical research), in his

professional livelihood, and in his reputation, good name, honor, integrity, character, and

professional standing.

       119.     As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, Defendants’

actions violated Dr. Kaplan’s right(s) not to be deprived of his property and/or liberty interests

without due process of law as guaranteed by the Fourteenth Amendment of the United States

Constitution.

       120.     As set forth more fully above in ¶¶ 7-9, 54-63, and 64-93, Defendants’ actions

described above violated Dr. Kaplan’s academic freedom and speech.




                                                 28
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 29 of 35 PageID #: 29




       121.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, Defendants’

actions described above were taken without cause and/or for reasons that were arbitrary and

capricious.

       122.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, in

implementing, ratifying and/or affirming the actions by its agents, representatives, and

employees, Defendant University acted in an arbitrary and capricious manner.

       123.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, Defendants’

actions violated Plaintiff’s due process right(s) to be free from arbitrary and capricious

deprivations of property under the Fourteenth Amendment of the United States Constitution.

       124.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, the

constitutional violations against Dr. Kaplan are of an ongoing and continuous nature.

       125.    In taking the actions against Dr. Kaplan set forth more fully above in ¶¶ 7-9, 54-

63, 64-93, and 94-115, Defendants acted intentionally, maliciously, and unlawfully without

providing Dr. Kaplan procedural and substantive due process in violation of governing law.

       126.    As a result of the Defendants’ wrongful actions, Plaintiff has suffered

compensatory damages to be proven at trial.


                                    COUNT II
               VIOLATION OF PLAINTIFF’S STATE PROCEDURAL AND
                      SUBSTANTIVE DUE PROCESS RIGHTS
                       (Kentucky Constitution, Sections 1 and 2)

       127.    Dr. Kaplan has a constitutionally protected property interest in his Chair position.

       128.    Dr. Kaplan has a constitutionally protected property interest in his positions as a

clinician, researcher, and/or tenured faculty member.




                                                 29
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 30 of 35 PageID #: 30




       129.    Dr. Kaplan has a constitutionally protected liberty interest in pursuing his chosen

medical profession (including treating patients and conducting medical research), in his

professional livelihood, and in his reputation, good name, honor, integrity, character, and

professional standing.

       130.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, Defendants’

actions violated Dr. Kaplan’s right(s) not to be deprived of his property and/or liberty interests

without due process of law as guaranteed by Sections 1 and 2 of the Kentucky Constitution.

       131.    As set forth more fully above in ¶¶ 7-9, 54-63, and 64-93, Defendants’ actions

violated Dr. Kaplan’s academic freedom and speech.

       132.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, Defendants’

actions were taken without cause and/or for reasons that were arbitrary and capricious.

       133.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, in

implementing, ratifying and/or affirming the actions by its agents, employees, and

representatives, Defendant University acted in an arbitrary and capricious manner.

       134.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, Defendants’

actions violated Plaintiff’s due process right(s) to be free from arbitrary and capricious

deprivations of property under the Sections 1 and 2 of the Kentucky Constitution.

       135.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, the

constitutional violations against Dr. Kaplan are of an ongoing and continuous nature.

       136.    In taking the actions against Dr. Kaplan set forth more fully above in ¶¶ 7-9, 54-

63, 64-93, and 94-115, Defendants acted intentionally, maliciously, and unlawfully without

providing Dr. Kaplan procedural and substantive due process in violation of governing law.




                                                 30
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 31 of 35 PageID #: 31




       137.    As a result of the Defendants’ wrongful actions, Plaintiff has suffered

compensatory damages to be proven at trial.


                                         COUNT III
                                 DECLARATORY JUDGMENT
                                   (28 U.S.C. §§ 2201-2202)

       138.    28 U.S.C. §§ 2201-2202 authorizes the Court to make a binding declaration of

rights, whether or not further relief is or could be sought.

       139.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, an actual,

justiciable, and present controversy exists between Dr. Kaplan and Defendants, which requires

an Order declaring the rights and duties of the parties including, but not limited to, a declaration

that: (i) Dr. Kaplan has one or more legally protected property interests or rights; (ii) Dr. Kaplan

has one or more legally protected liberty interests or rights; (iii) one or more of the Defendants’

actions against Dr. Kaplan violated his federally protected interests or rights; and (iv) as a result

of Defendants’ illegal actions, one or more of Dr. Kaplan’s federally rights protected interests or

rights were harmed.


                                       COUNT IV
                                 DECLARATORY JUDGMENT
                                      (KRS 418.040)

       140.    KRS 418.040 authorizes the Court to make a binding declaration of rights,

whether or not further relief is or could be sought.

       141.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, an actual,

justiciable, and present controversy exists between Dr. Kaplan and Defendant, which requires an

Order declaring the rights and duties of the parties including, but not limited to, a declaration

that: (i) Dr. Kaplan has one or more legally protected property interests or rights; (ii) Dr. Kaplan



                                                  31
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 32 of 35 PageID #: 32




has one or more legally protected liberty interests or rights; (iii) one or more of the Defendants’

actions against Dr. Kaplan violated his federally protected interests or rights; and (iv) as a result

of Defendants’ illegal actions, one or more of Dr. Kaplan’s federally rights protected interests or

rights were harmed.


                                            COUNT V
                                      INJUNCTIVE RELIEF
                                      (Federal and State law)

       142.      As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, due to the

Defendants’ actions, Dr. Kaplan has suffered immediate and irreparable injury and will continue

to so suffer in violation of his rights unless Defendants are enjoined from such activity by Order

of this Court.

       143.      Dr. Kaplan has no adequate remedy at law or otherwise to address his non-

monetary injuries, save in a court of equity.

       144.      The public interest would be best served by ensuring that Defendants are enjoined

from ongoing and future illegal actions against Dr. Kaplan.

       145.      No previous application by Dr. Kaplan against the Defendants for a Restraining

Order or an Injunction has been refused by any court.


                              COUNT VI
        TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIPS AND
                           EXPECTANCIES
                              (State law)

       146.      Dr. Kaplan has a valid business relationship and expectancy with his patients.

       147.      Dr. Kaplan has/had a valid business relationship and expectancy with his ongoing

and future research projects, grants, and collaborator relationships.




                                                 32
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 33 of 35 PageID #: 33




       148.    Defendants are/were well-aware of Dr. Kaplan’s treatment of patients through the

Department’s clinics and ULP.

       149.    Defendants are/were well-aware of Dr. Kaplan’s ongoing and future research

projects and grant funding.

       150.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, Defendants

have intentionally interfered with Dr. Kaplan’s patient treatment.

       151.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, Defendants

have intentionally interfered with Dr. Kaplan’s ongoing and future research projects and grant

funding.

       152.    As set forth more fully above in ¶¶ 7-9, 54-63, 64-93, and 94-115, Defendants

have intentionally interfered with Dr. Kaplan’s book contract.

       153.    Defendants have no valid justification for interfering with Dr. Kaplan’s treatment

of patients and the motives behind their interference are improper.

       154.    Defendants have no valid justification for interfering with Dr. Kaplan’s ongoing

and future research projects and grant funding and the motives behind their interference are

improper.

       155.    Defendants have no valid justification for interfering with Dr. Kaplan’s ongoing

book contract and the motives behind their interference are improper.

       156.    Defendants’ intentional and malicious interference with Dr. Kaplan’s patient

treatment has caused him to suffer damages.

       157.    Defendants’ intentional and malicious interference with Dr. Kaplan’s ongoing and

future research projects and grant funding has caused him to suffer damages.




                                                33
 Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 34 of 35 PageID #: 34




            158.   As a result of the Defendants’ wrongful, tortious, and malicious actions, Plaintiff

has suffered special damages to be proven at trial.

            159.   As a result of the Defendants’ wrongful, tortious, and malicious actions, Plaintiff

is entitled to an award of punitive damages in amount to be proven at trial.

            WHEREFORE, Plaintiff Henry J. Kaplan, M.D. respectfully requests:

            A.     Judgment against Defendants for all compensatory damages suffered by Plaintiff

in an amount to be determined at trial;

            B.     Judgment against Defendants for all special damages suffered by Plaintiff in an

amount to be determined at trial;

            C.     Judgment against Defendants for punitive damages in an amount to be determined

at trial;

            D.     Judgment against the Defendants for Plaintiff’s costs and expenses incurred in

bringing this action, including all reasonable attorneys’ fees and costs pursuant to 42 U.S.C.

§ 1988;

            E.     A declaration of the rights and duties of the parties including, but not limited to, a

declaration that: (1) Dr. Kaplan has one or more legally protected property interests or rights; (2)

Dr. Kaplan has one or more legally protected liberty interests or rights; (3) one or more of the

Defendants’ actions against Dr. Kaplan violated his federally protected interests or rights; and (4)

as a result of Defendants’ illegal actions, one or more of Dr. Kaplan’s federally rights protected

interests or rights were harmed.

            F.     A Judgement against Defendants enjoining them, and all of those persons and

entities acting in concert with them, from taking any actions violating Dr. Kaplan’s protected

interests and rights;



                                                    34
Case 3:19-cv-00825-CRS Document 1 Filed 11/12/19 Page 35 of 35 PageID #: 35




    G.    For trial by jury on all of Plaintiff’s claims; and

    H.    All other relief to which Plaintiff may be entitled.


                                                  Respectfully submitted,
                                                  /s/ Kevin L. Chlarson
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                                            35
